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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

JESSE MURCHIE and DEANNA MURCHIE,

               Plaintiffs,

       vs.
                                                               Civil No. 20-306-JDL
EDWARD DUBIE, RYAN EAGLES, SHAWN
NEWELL, FORT FAIRFIELD POLICE
DEPARTMENT, CITY OF FORT FAIRFIELD,
and JAMES RISER,

               Defendants




     ANSWER TO COMPLAINT, AFFIRMATIVE DEFENSES AND JURY TRIAL
                    DEMAND (ALL DEFENDANTS)

       Defendants Edward Dubie, Ryan Eagles, Shawn Newell, Fort Fairfield Police

Department, City of Fort Fairfield, and James Riser, by and through counsel, hereby respond to

the Plaintiffs’ Complaint as follows:

                                        I.     The Parties

       1.      The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       2.      The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       3.      The Defendants admit that Defendant City of Fort Fairfield (“the City”) is a Maine

municipality and that it operates the Fort Fairfield Police Department. The Defendants admit

that Defendant Riser used to be City Manager for the City. The Defendants admit that

Defendant Newell is Chief of the City’s police department. The Defendants admit that Defendant
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Eagles is employed by the City in its police department. The Defendants admit that Defendant

Dubie used to be employed by the City in its police department. The Defendants admit that the

City and its police department are located in Fort Fairfield, Maine. The Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       4.      The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

                     II.     Jurisdiction and Venue; Demand for Jury

       5.      The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       6.      The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       7.      The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       8.      The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.



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                      III.     General Allegations – Background Facts

       9.      The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       10.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       11.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       12.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       13.     The Defendants admit that on September 10, 2018, Defendant Eagles stopped a

Ford Taurus operated by the Plaintiff due to an excessively loud exhaust and that the Plaintiff

was cited for operating a vehicle with excessive exhaust noise. The Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       14.     The Defendants admit that on October 7, 2018 Defendants Dubie and Eagles

ordered the Plaintiff to stop his vehicle and that he failed to comply. The Defendants further

admit that the Plaintiff was operating a vehicle with an excessively loud exhaust at the time. The

Defendants further admit that the Plaintiff went to his house after failing to stop. The

Defendants further admit that Defendants Dubie and Eagles instructed Plaintiff Deanna

Murchie not to interfere with their efforts to gain control of the Plaintiff while he was resisting

their efforts to take him into custody. The Defendants deny ordering a forced penile

catheterization of the Plaintiff, using excessive force, or conducting any illegal searches. The

remaining allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

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assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the remaining allegations

contained in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       15.     The allegations contained in this paragraph of the Plaintiffs’ Complaint purport

to characterize the contents of a video recording that speaks for itself; therefore, no response is

required. Alternatively, the Defendants deny the allegations in this paragraph of the Plaintiffs’

Complaint to the extent they vary from the video recording and they are otherwise without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       16.     The Defendants deny the allegations in this paragraph of the Plaintiffs’ Complaint

to the extent they purport to describe Defendant Dubie’s conduct. The remaining allegations

contained in this paragraph of the Plaintiffs’ Complaint purport to characterize the contents of a

video recording that speaks for itself; therefore, no response is required. Alternatively, the

Defendants deny the remaining allegations in this paragraph of the Plaintiffs’ Complaint to the

extent they vary from the video recording and they are otherwise without sufficient information

or knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       17.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       18.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       19.     The allegations contained in this paragraph of the Plaintiffs’ Complaint purport

to characterize the contents of a written document that speaks for itself; therefore, no response

is required. Alternatively, the Defendants deny the allegations in this paragraph of the Plaintiffs’

Complaint to the extent they vary from the written document and they are otherwise without



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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       20.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       21.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       22.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       23.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       24.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       25.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint pertaining to Defendant Dubie. The Defendants are without sufficient information or

knowledge to form a belief as to the truth of the remaining allegations contained in this

paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       26.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       27.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.



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       28.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       29.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       30.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       31.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       32.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       33.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       34.     The Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiffs’ Complaint and,

accordingly, deny same.

       35.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       36.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without



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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       37.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       38.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                           COUNT I
                               (42 USC § 1983 – All Defendants)

       39.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       40.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       41.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       42.     The Defendants deny the alleged wrongful conduct in this paragraph of the

Plaintiffs’ Complaint. The remaining allegations contained in this paragraph of the Plaintiffs’

Complaint constitute assertions of law to which no response is required. Alternatively, the

Defendants are without sufficient information or knowledge to form a belief as to the truth of

the remaining allegations contained in this paragraph of Plaintiffs’ Complaint and, accordingly,

deny same.


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       43.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       44.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       45.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       46.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       47.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       48.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       49.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       50.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       51.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       52.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       53.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

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       54.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       55.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       56.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       57.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       58.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

                                       COUNT II
                        (Conspiracy under 42 USC § 1985(3), 1986)

       59.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       60.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       61.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       62.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without


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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       63.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       64.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       65.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       66.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       67.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       68.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       69.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       70.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       71.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       72.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

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       73.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       74.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       75.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

                                      COUNT III
(Disability Law Violation – Title II of the Americans with Disabilities Act (ADA), 42
   USC § 12132, et seq., and Section 504 of the Rehabilitation Act, 29 UCS § 794)

       76.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       77.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       78.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       79.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       80.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       81.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       82.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       83.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       84.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       85.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       86.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       87.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       88.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       89.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       90.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       91.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       92.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       93.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       94.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

                                          COUNT IV
                                (Assault/Battery – Defendants)

       95.     The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       96.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       97.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       98.     The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       99.     The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.




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                                            COUNT V
                                    (Negligence –Defendants)

       100.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       101.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       102.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       103.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       104.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       105.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       106.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       107.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       108.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.


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                                         COUNT VI
                        (Negligent Infliction of Emotional Distress)

       109.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       110.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       111.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       112.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                         COUNT VII
                       (Intentional Infliction of Emotional Distress)

       113.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       114.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       115.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       116.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       117.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       118.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.



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       119.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       120.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       121.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       122.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                   COUNT VIII
  (Negligent Failure to Protect Rights of Mentally Ill Person, in Violation of 34-B
    M.R.S.A. §§ 3801, 3805, 3862, et seq. and Prohibited Acts and Negligence)

       123.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       124.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       125.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       126.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       127.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

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sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       128.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       129.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       130.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       131.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       132.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       133.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                   COUNT IX
 (Violations and Interference with Maine Constitution and Maine Civil Rights Act
                                   Violations)

       134.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

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       135.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       136.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       137.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       138.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       139.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       140.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       141.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       142.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       143.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       144.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       145.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

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       146.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       147.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       148.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       149.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       150.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       151.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       152.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       153.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       154.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       155.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

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       156.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       157.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       158.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       159.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       160.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       161.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       162.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                             COUNT X
                                           (Medical Care)

       163.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       164.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.


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       165.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       166.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                            COUNT XI
                                     (Spoliation of Evidence)

       167.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       168.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       169.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       170.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       171.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                      COUNT XII
                (Invasion of Privacy – Intrusion on Personal Seclusion)

       172.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.



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       173.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       174.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       175.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

                                            COUNT XIII
                                        (Vicarious Liability)

       176.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       177.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

       178.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                    COUNT XIV
           (Loss of Consortium and Emotional Distress – Deanna Murchie)

       179.    The Defendants repeat their responses to the preceding paragraphs of Plaintiffs’

Complaint.

       180.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.

       181.    The Defendants deny the allegations contained in this paragraph of the Plaintiffs’

Complaint.



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        182.    The allegations contained in this paragraph of the Plaintiffs’ Complaint constitute

assertions of law to which no response is required. Alternatively, the Defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations contained

in this paragraph of Plaintiffs’ Complaint and, accordingly, deny same.

                                      AFFIRMATIVE DEFENSES

        1.      The Defendants have at all times acted in good faith and without knowledge that

their conduct violated any clearly established constitutional or statutory rights of the Plaintiffs.

        2.      The Defendants’ conduct did not violate any clearly established constitutional or

statutory rights of the Plaintiffs.

        3.      No reasonable person would have known that the Defendants’ conduct violated

any clearly established constitutional or statutory rights of the Plaintiffs.

        4.      To the extent that the Plaintiffs endeavor to make a state claim grounded in tort,

the Defendants reserve the right to demonstrate that the claim is barred by Plaintiffs’ failure to

comply with the notice provisions of the Maine Tort Claims Act, 14 M.R.S.A. §§ 8107 and 81018.

        5.      To the extent that the Plaintiffs endeavor to make a state claim grounded in tort,

the claim is barred by immunity provisions provided to the Defendants by the Maine Tort

Claims Act, including but not limited to 14 M.R.S.A. § 8103, 8104-B, and 8111(1)(C), (D) and (E).

        6.      Any damages the Plaintiffs recover for tort claims are capped by the provisions of

the Maine Tort Claims Act.

        7.      To the extent that the Plaintiffs’ Complaint seeks to impose liability on the

Defendants in their representative capacity, the Complaint fails to state a claim upon which

relief may be granted.

        8.      The Plaintiffs’ own conduct was the sole or a contributing cause of their injuries,

and their claims should be barred or reduced accordingly.

        9.      The Plaintiffs’ Complaint, in whole or in part, fails to state a claim upon which

relief may be granted.

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       10.     The Plaintiffs’ claims are barred for the reason that the Defendants are not liable

under a theory of respondeat superior for the actions of their agents.

       11.     The Plaintiffs’ claims against the City are barred for the reason that the Plaintiffs

cannot demonstrate a custom or policy of the City that was the moving force behind any

constitutional violations.

       12.     The Plaintiffs’ claims are barred for the reason that the Defendants’ actions do

not constitute deliberate indifference or conduct which is shocking to the conscience.

       13.     The Plaintiffs’ claims are barred for the reason that the allegations in the

Complaint allege simple negligence and the conduct complained of is not the type contemplated

under 42 U.S.C. § 1983.

       14.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of immunity.

       15.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of qualified

immunity.

       16.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of privilege.

       17.     The Plaintiffs’ claims are barred, in whole or in part, by the failure to pursue

administrative remedies.

       18.     To the extent that the Plaintiffs seek injunctive or declaratory relief, the Plaintiffs

have no standing.

       19.     The Plaintiff has adequate remedies under State law, and therefore no action lies

under 42 U.S.C. §1983 in the Maine Constitution or the United States Constitution.

       20.     The Defendants reserve the right to demonstrate that the Plaintiffs have failed to

mitigate damages.

       21.     To the extent the Plaintiffs’ alleged injuries result from conditions that pre-

existed the events alleged in the Complaint, the Defendants cannot be held liable for the alleged

damages associated with those alleged injuries.



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       22.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of undue

hardship.

       23.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of undue

burden.

       24.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of standing.

       25.     The Plaintiffs’ claims are barred, in whole or in part, by the concept of

fundamental alteration.

       26.     The Plaintiffs’ claims are barred, in whole or in part, for lack of a readily

achievable alteration.

       27.     The Plaintiffs’ claims are barred, in whole or in part, by the doctrine of consent.



                                           JURY DEMAND

       Pursuant to Local Rule 38 and Federal Rule of Civil Procedure 38(b), the Defendants

request a trial by jury on all claims and issues properly tried to a jury.

       WHEREFORE, Defendants Edward Dubie, Ryan Eagles, Shawn Newell, Fort Fairfield

Police Department, City of Fort Fairfield, and James Riser demand judgment in their favor with

regard to all claims of the Plaintiffs’ Complaint, including an award of costs and attorneys’ fees,

if appropriate, and such other relief as the Court deems just.

       Dated at Portland, Maine this 2nd day of November, 2020.

                                                 Attorneys for Defendants Edward Dubie,
                                                 Ryan Eagles, Shawn Newell,
                                                 Fort Fairfield Police Department,
                                                 City of Fort Fairfield, and James Riser
                                                 MONAGHAN LEAHY, LLP
                                                 95 Exchange Street, P.O. Box 7046
                                                 Portland, ME 04112-7046
                                                 (207) 774-3906

                                        BY:      /s/ John J. Wall, III
                                                 John J. Wall, III



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                                 CERTIFICATE OF SERVICE

     I hereby certify that on November 2, 2020, I electronically filed Answer to
Complaint, Affirmative Defenses and Jury Trial Demand (All Defendants) using the
CM/ECF system, which will provide notice to me and all other counsel of record.

      Dated at Portland, Maine this 2nd day of November, 2020.

                                               Attorneys for Defendants Edward Dubie,
                                               Ryan Eagles, Shawn Newell,
                                               Fort Fairfield Police Department,
                                               City of Fort Fairfield, and James Riser
                                               MONAGHAN LEAHY, LLP
                                               95 Exchange Street, P.O. Box 7046
                                               Portland, ME 04112-7046
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                                      BY:      /s/ John J. Wall, III
                                               John J. Wall, III




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